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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JANIE MIRELES                                 §       CIVIL ACTION NO. __________
                                              §
Plaintiff,                                    §
                                              §
V.                                            §
                                              §
FIESTA MART, LLC at 14315                     §
BELLAIRE BLVD. HOUSTON,                        §
TEXAS 77083                                   §
Defendant.                                    §       NOTICE OF REMOVAL

                                NOTICE OF REMOVAL
TO THE UNITED STATES DISTRICT COURT:

        Defendant FIESTA MART, LLC, pursuant to 28 U.S.C. §§1441 and 1332,

provides notice of removal of this action styled Janie Mireles v. Fiesta Mart LLC et al,

Cause No. 2021-39357, currently pending in the 269th Judicial District Court of Harris

County, Texas, and in support thereof, respectfully shows unto this Court as follows:

        1.      Plaintiff Janie Mireles filed her Original Petition on June 30, 2021,

claiming damages from a slip and fall. Plaintiff served Defendant with the citation on

July 9, 2021; therefore, this notice is timely under 28 U.S.C. § 1446(b).

        2.      Pursuant to 28 U.S.C. §1446 and the Local Rules of the United States

District Court for the Southern District of Texas, attached are the following:

        a.      All executed process in the case (Exhibit A);

        b.      Pleadings asserting causes of action and all answers to such pleadings

                (Exhibit B);

        c.      All orders signed by the state judge (none);

        d.      The docket sheet (none);

        e.      An index of matters being filed (Exhibit C);




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           f.       A list of all counsel of record, including addresses, telephone numbers,

                    and parties represented (Exhibit D).

These documents represent all that are presently available as required.

           4.       The District Courts of the United States have original jurisdiction over this

action by reason of diversity of citizenship between the parties. 28 U.S.C. §1332.

Plaintiff’s Original Petition alleges that Plaintiff Janie Mireles is a resident of Harris

County, Texas, and therefore is a citizen of the state of Texas. Although Defendant

Fiesta Mart LLC, is a limited liability company organized under the laws of Texas, its

sole member is Bodega Latina Corp., a Delaware corporation with its principal place of

business, or its “nerve center” in California. See Exhibit E. Defendant Fiesta Mart LLC’s

citizenship as an LLC is determined by the citizenship of its members.1 A corporation,

such as Bodega Latina Corp., is deemed to be a “citizen” of the state where it maintains

its principal place of business (its “nerve center”) and the state of its incorporation.2

Therefore, Defendant is a citizen of the states of Delaware and California, the principal

place of business and the state of incorporation of Fiesta Mart LLC’s sole member,

Bodega Latina Corp.

           5.       Plaintiff’s Original Petition in the state court seeks damages of $250,000,

and thus the amount in controversy exceeds the sum of seventy-five thousand dollars
($75,000.00), exclusive of interests and costs.

           6.       Removal of this cause of action is proper under 28 U.S.C. §1441. It is a

civil action brought in state court and the District Courts of the United States have

original jurisdiction over this action under 28 U.S.C. §1332, since the plaintiff and the

defendant are diverse in citizenship.

           7.       As required by 28 U.S.C. §1441, the 269th Judicial District Court of Harris

County, Texas falls within the geographical purview of this Court, and thus, venue is

1
    See e.g., Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008).
2
    See 28 U.S.C. §1332(c)(1); see also, Hertz Corp. v. Friend, 559 U.S. 77. 130 S. Ct. 1181, 1185-86 (2010).


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proper in the United Stated District Court of the Southern District of Texas, Houston

Division.

        8.      Written notice of the filing of this Notice of Removal is being promptly

given to Plaintiff and a notice of Filing of Notice of Removal is promptly being filed with

the 269th District Court in Harris County, Texas, as required by 28 U.S.C. §1446(d).

        WHEREFORE, PREMISES CONSIDERED, Defendant Fiesta Mart, LLC prays

that the state action now pending in 269th District Court in Harris County, Texas, be

removed to this Court, and for any further relief to which Defendant is justly entitled.


                                              Respectfully submitted,
                                              MEHAFFYWEBER, P.C.

                                              By:/s/Maryalyce W. Cox
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                                              FIESTA MART LLC




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                                CERTIFICATE OF SERVICE

       In addition to e-filing, this is to certify that a true and correct copy of the above
and foregoing instrument has been forwarded by Certified Mail, return to receipt
requested, to all counsel of record on this the 6th day of August, 2021 pursuant to both the
Texas Rules of Civil Procedure and the Federal Rules of Civil Procedure. .

                                                     Maryalyce W. Cox
                                                     Maryalyce W. Cox




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